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PETER LEIDER: Today's date is October 17th , 2013. My name is Peter Leider with CME
Market Regulation. We're conducting this interview from 1 North End Avenue, New York, New
York. We're here to conduct an interview with Mr. Gregg Smith. Would eve1yone please go
around the room and introduce themselves, please?

ED FURLONG: Ed Furlong, I'm an investigator with CME group.

MIKE SEROSSI: Mike Serossi, supervisor CME group, New York.

ANN MAHAN: Ann Mahan, legal counsel.

EUGENE FERRARA: Eugene Fe1nra, JP Morgan Compliance.

RON WOLF: Ron Wolf, counsel for JP Morgan.

GREGG SMITH: Gregg Smith, trader precious metals, JP Morgan.

ARMAND NAKKAB : Almand Nakkab, JP Morgan Compliance.

PETER LEIDER: Gentlemen, are you aware this interview is being recorded?

GREGGSMITH: Yes.

ARMANDNAKKAB: Yes.

PETER LEIDER: We' re going to begin. Mr. Smith, approximately how long have you been a
trader?

GREGG SMITH: 24 odd years .

PETER LEIDER: And where do you trade from?

GREGG SMITH: Physical location?

PETER LEIDER: Physical location.

GREGG SMITH: 383 Madison Avenue.

PETER LEIDER: Okay, and who are you employed by?

GREGG SMITH: JP Morgan Chase.                                              Defendants' Exhibit

PETER LEIDER: And your title?
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GREGG SMITH: Executive Director.
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PETER LEIDER: And when did you start with the firm, approximately--to the best of your
knowledge?

GREGG Sl\!IlTH: In 2007, I started at Bear Stearns, and then, when it took over, it became JP
Morgan on the merge.

PETER LEIDER: And as best you can, can you describe your ClllTent job responsibilities?

GREGG Sl\!IlTH: I am the gold trader for JP Morgan. I'm responsible to hedge gold positions
for JP Morgan and make markets.

PETER LEIDER: Okay. The trading that you conduct, is it for yourself or is it considered for
the company or how would be the best way to describe it? Are there customers associated with it
ultimately or-?

GREGG Sl\!IlTH: I trade on behalf of the bank.

PETER LEIDER: On behalf of the bank, okay. Do you trade for anybody else in the fum?

GREGG Sl\!IlTH: No.

PETER LEIDER: No, there are no sales people around? It's exclusively your book, would that
be the best way to describe it? Would that be your trading book?

GREGG Sl\!IlTH: It's my trading book is all I trade for, yes.

PETER LEIDER: Okay. Is anyone else on the trading desk with you?

GREGG Sl\!IlTH: Yes.

PETER LEIDER: About how many people?

GREGG Sl\!IlTH: On the trading side, there are four other.

PETER LEIDER: Okay. Do you ever trade for any of these other people?

GREGG Sl\!IlTH: No.

PETER LEIDER: Or do you trade exclusively for yourself?

GREGG SMITH: Uh-huh.

PETER LEIDER: Okay. What accounts do you trade for, if you can recall account numbers
per se? You don't recall?

GREGG Sl\!IlTH: No, I really don't know specific account numbers.



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PETER LEIDER: What time of day do you typically trade, what times or start to end?

GREGG Sl\illTH: For the last year, I get in around seven, so after logging in, I may start
trading anywhere around 7:30.

PETER LEIDER: Until typically-

GREGG Sl\illTH: Until typically 3:00, 3:30 in the afternoon.

PETER LEIDER: Okay. And what products do you trade typically?

GREGG Sl\illTH: Typically, precious metal futures and spot.

PETER LEIDER: Okay. If you can please describe again as best you can, how are you
compensated? Is it sala1y, a bonus, a percentage of profits, all of the above, bonus pool?

GREGG Sl\illTH: Sala1y and bonus, yearly bonus.

PETER LEIDER: Okay, based on perfo1mance obviously.

GREGG Sl\illTH: Based on performance of myself and then, I guess, my New York Precious
Metals Group, the Global Precious Metals Group and then the Global Commodities Group.

PETER LEIDER: Thank you. We received an account statement from the film. It was
account 03028 for the record. It was a rather extensive account, and we just wanted to review
some trades. Was that account, per se, for the entire film or for the house or for house traders
just because of the extent of what was in there? You know, we were tiying to isolate specific
u·ades obviously, and it was ove1whelming. Would anyone that's qualified could possibly step
up and answer that?

EUGENE FERRARA: Those are for Chase Bank, house u·ades.

PETER LEIDER: House trades, and are they aggregated into one account?

EUGENE FERRARA: I don't know, but the statements you received are for house trades.
There's no client trades.

PETER LEIDER: Okay, okay. And do you have an internal system or whatever methodology
you use to distinguish ultimately whose u·ades are whose? In other words, how would that
process work, if you were just to look at that statement?

ARMAND NAKKAB: What do you mean whose tI-ades ar·e whose?

PETER LEIDER: In other words, who executed what pa1ticular trades, if they were being tied
to a pa1ticular u·ader, in other words, in te1ms of perfo1mance who did what? Are they
segregated down any way or?



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ARMAND NAKKAB: So, if they're done electronically, then there's going to be a unique
identifier for the trader, so whoever's UTI that is executing, that's going to be the person that
does it.

PETER LEIDER: Okay, okay.

EUGENE FERRARA: But, if you're asking whether we can tie back to the statements-

PETER LEIDER: I wasn't going to ask you to do that for me. I was just asking how you kept
track of that.

ARMAND NAKKAB: Right, so the trading is by UTI, and then there's no way to tie in what
UTI is actually in the clearing statement, which is what you ' re refening to-

[00:05:00]

PETER LEIDER: Okay, yes, absolutely, thank you, okay. Mr. Smith, did you receive any
formal training in CME group rnles when you sta1ted at JP?

GREGG SMITH: Yes.

PETER LEIDER: Can you describe how that process-

GREGG SMITH: We have annual and semi-monthly training from the compliance desk.

PETER LEIDER: Those are exchange rnles related?

GREGG SMITH: Exchange rnles related.

PETER LEIDER: So, for example, if we updated a rnle, how would you receive that update?

GREGG SMITH: If it pe1tained to me, I may have received it in an email or in the next
Compliance Meeting, obligato1y Compliance Meeting.

PETER LEIDER: Okay, thank you. And who do you repo1t to, if anybody?

GREGG SMITH: Mike Nowak.

PETER LEIDER: And he is, his title, please?

GREGG SMITH: He is a managing director.

PETER LEIDER: Okay. And do you have anybody supe1v ising your trading?

GREGG SMITH: Mike Nowak.



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PETER LEIDER: Okay, and how to the best of your knowledge, if you can, how does he
conduct the supervision, as best you can? Do you know?

GREGG SMITH: I don't really know how he actually does it, no.

PETER LEIDER: Okay, thank you. Does anyone repo1i to you?

GREGG SMITH: No.

PETER LEIDER: Okay. Can you please, and, again, this is somewhat rhetorical, desc1ibe the
hierarchy of the trading desk. This may not be for you. Eugene, you might be the best person to
answer this from the top down as best you can.

GREGG SMITH: Yeah , I can. So Mike Nowak is the desk manager. I am the spot trader. On
the trading side, you'll have Bob Gottlieb, who is the forward trader, and there is an assistant on
the desk, John Edmonds, and we have a recent hire who is just becoming an assistant, Caleb
Wmih. That's the trading side.

PETER LEIDER: Thank you. What front end system do you use when you trade on Globex?

GREGG SMITH: TT.

PETER LEIDER: TT. Are you familiar with your unique user ID, which we refer to as a tag
50?

GREGG SMITH: Not in pa1iicular.

PETER LEIDER: Not in patiicular? Okay.

GREGG SMITH: Yeah, no.

PETER LEIDER: How do you log on in the morning?

GREGG SMITH: I sign on with my ID and password.

PETER LEIDER: Okay. Are you a manual point and click trader?

GREGGSMITH: Yes.

PETER LEIDER: Okay. Is there any electronic aspect to your trading strategy at all or do you
employ any smt of A TES in automatic trade execution system or is it strictly point and click?

GREGG SMITH: I'm strictly point and click.

PETER LEIDER: Do you use auto spreader or auto trader or any of those functionalities?



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GREGG Sl\illTH: No. Not aware.

PETER LEIDER: No simple algorithms attached to this, obviously?

GREGG Sl\illTH: No.

PETER LEIDER: Do you have a wash blocker?

GREGG Sl\illTH: Yes, we do.

PETER LEIDER: And you employ this? Okay. Maybe you'd like to ask this question,
because you're probably a little better equipped to ask it.

ED FURLONG: Okay, just some questions about your basically default settings on your front
end TT. Do you have any like specific default order quantities or anything?

GREGG Sl\illTH: It's usually set to 10 contracts.

ED FURLONG: 10 contracts. Is that like right click, left click, the same?

GREGG Sl\illTH: It's 10 for whatever click.

ED FURLONG: 10 for whatever click?

GREGG Sl\illTH: Yeah, I'm not aware of any different method to do it.

ED FURLONG: Okay, is there like a max click size that you have?

GREGG Sl\illTH: 999.

ED FURLONG: 999, and that's per product or just for gold or what?

GREGG Sl\illTH: As far as I know, it's per order.

ED FURLONG: Okay, per order. Is there any shortcuts for like multiple order entries or
cancellations?

GREGG Sl\illTH: No.

ED FURLONG: So you can't-like you can cancel-you can't cancel all your orders at once?

GREGG Sl\illTH: I can click and cancel everything at once, yes.

ED FURLONG: Okay, and you can click and cancel by price?




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GREGG SMITH: Each individual-by price, yes, each individual order by price, yeah.

ED FURLONG: Okay. Do you have any defaults for iceberg orders--

GREGG SMITH: Yes.

ED FURLONG: --for en1Iy? Can you explain that a little bit, like how that works?

GREGG SMITH: I don't understand.

ED FURLONG: What your defaults are, is it a click default, do you press a button and then-

ARMAND NAKKAB: Is it a default on quantity Ed or is it a default on bringing up the actual
u·ade ticket?

ED FURLONG: Just the order entJ.y of an iceberg order.

RON WOLF: So how you order an iceberg order.

GREGG SMITH: Click onto a box that says iceberg.

ED FURLONG: Okay, so like in your ladder or something.

GREGG SMITH: Yeah, it's in a ladder.

ED FURLONG: Okay. Yeah, that was pretty much it on the front end.

PETER LEIDER: Okay, moving forward, ifl may, again, to the best of your ability, can you
describe your daily u-ading strategy?

GREGG SMITH: Sure, I make markets to customers and hedge on behalf of the bank, and
that's one of my jobs during the day. I also make markets on the future exchange constantly
throughout the day, and overall su-ategy, if you look,

[00:10:00]

you'll see that I'm pretty much a range trader, constantly putting bids and offers in the market.

PETER LEIDER: Whose stJ.·ategy was that? In other words, was that a strategy employed
prior to you getting to the desk or was that your strategy within the firm?

GREGG SMITH: It's been ca1Tied over with me.

PETER LEIDER: Okay. Are you aware of any overt risk limits or contJ.act limits or just to get
in their maximum daily profit and loss limits? It's things of this nature associated with your-




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GREGG SMITH: Yes.

PETER LEIDER: Can you describe the process to the best your ability?

GREGG SMITH: Well, profit and loss limit, I believe my threshold is $1 million on a daily
basis, and at that point, it would be escalated, if I escalate it or if someone from the back end
escalates it, I don't know. I would escalate it myself.

PETER LEIDER: Okay. You have the authority to do it.

GREGG SMITH: Yeah. As far as maximum orders, we had said 999 is the maximum order I
could put in, but there is a total number of order entries that you can put in that's in there. I don't
recall exactly what it is. I never really push that threshold.

PETER LEIDER: Okay. Thank you. Do you typically hold positions for yourself at the end of
the trade date?

GREGG SMITH: No, I'm square at the end of every day.

PETER LEIDER: And, again, to the best of your knowledge, what is your typical position size
at any moment? In other words, does it relate to market conditions?

GREGG SMITH: As it relates. I mean, any- as a general, it would be anywhere from O to say
200 contracts or 20,000 ounces, you know, give or take.

PETER LEIDER: If you can recall, what's the largest order you've placed and filled over the
past six months, if you can?

GREGG SMITH: I really can't.

PETER LEIDER: And you stated before, you do use iceberg orders when you trade?

GREGG SMITH: Yes.

PETER LEIDER: When do you use icebergs, when do you prefer to use icebergs?

GREGG SMITH: It depends on the situation.

PETER LEIDER: We're going to show you examples of some trading that we'd like to discuss,
and to do that we're going to use something called our RAPID audit trail, which I'm going to put
up on the screen for you, and I'm going to go through this ve1y slowly. What the RAPID is, it's
our way, it's a receptacle to show us every trade that a pa1ticular individual or account or any
way we'd like to so1t it entered into Globex. It shows the cancels, the modifications, fills, trade
times. It just basically conesponds to what you entered and canceled and got filled on your
Globex system, and it goes by time. Let me get up here and show it to you. It's going to put it
up. And, as I go through this, please, I'm going to go as slowly as I possibly can, just because



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you've never seen it before. If you have any questions and you'd like me to sit down or anything
you're not sure of and want me to go back or re-explain, please let me know. I think it should be
fairly intuitive as a trader, but I'm going to attempt this. Can you see this?

GREGG SMITH: Yes, I can.

PETER LEIDER: Okay. I'm obviously going to have to slide in here. I apologize.
Obviously we're looking at a trade date here. In this case we're going to be showing you trade
date June 26th , 2013. The times are the times orders were received by our system, okay, this is in
central time, and it tends to go in order. It flows. We'll be talking about August gold contract,
which is going to remain consistent throughout- this is not going to change. This one IMBSGS
is what we have associating-the account we have associated to your tag 50 or to your unique
log on, which is G Smith, so essentially this tag 50 conesponds to-in this case, to the trades that
are showing up in that account. Where it gets a little tricky here is the function code, okay. The
function codes we have essentially type 1, type 2, type 3, and type 105s. For our purposes, type
l s are not going to come into play. But I'll explain what the l s are. The l s are- I say the type
2s aren't going to come into play. The type l s are a new order entered into our system. So any
time you enter a new order in our system, into Globex, it's going to show up as a number 1. Any
time an order is canceled, it's going to show up as a number 3. So any time an order comes in,
it's a 1. When they're canceled, they're 3s. Any time a trade is executed or it goes off, there'll be
a 105, and it will show you the match, in other words how many lots of the order matched. If
100 matched, it'll show it as one trade. If 100 lot order matched with five different pa1ticipants,
it'll show it as five different trades effectively, assuming they were 10 lots each. The next

[00:15:00]

column reflects an order ID. Every trade obviously receives a unique identification, so we can
track it through the system. That's for our purposes. And just to let you know that's there. The
next column are buys and sells.

EUGENE FERRARA: So will the order ID for the order and the cancel will be the same or it
will be different?

PETER LEIDER: Yes, it maintains the same order throughout the system.

MIKE SEROSSI: Yeah, if you look at the last number one and the first number three, it's the
same ID.


PETER LEIDER: Right. So, if you have questions about that, about a unique order, we can go
back and find exactly where it was. Buys and sells, whether an order was a buy or sell, the price.
For our purposes today, I'm going to stick to the last two digits so I don't stutter a lot. This tells
you the order type, in other words, if it was a limit order or a market order that hit the system, in
this case, as you can see scrolling down, they were all limit orders. Getting over to the quantity,
this shows the quantity of the order that was entered into our system, and this shows the quantity
remaining in our system. In other words, if you had entered a 30 lot order, one lot gets filled,



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you'd see this remaining quantity go to 29. If the second lot got filled, it would go down to 28.
So this basically shows- when it comes into play, I'll slow down again and refresh you. And,
again, if you have any questions, or I didn't explain this clearly, please let me know. The book
level is just the depth of the book, zero being right on top of the book, best bid, best offer, two
being the second best, three being the third best, so it tells you at what level in the book your
order was, and obviously, as the market moves, that's going to change.

ARMAND NAKKAB: I have a question, I'm sony Peter, book level, when it says 6, for
example, it means there were 6 bids, in this case, better than his bid?

PETER LEIDER: Conect, yes. You are technically the 7 th I guess that would be the way to
put it, okay. And maximum shelf life only applies to orders that were entered as icebergs. That's
what this little 1 means. The significance of the number is not so much. It just populates the
column to let us know that an order was entered as an iceberg order, okay? So, again, just for
our purposes here, what we really want to focus on are the ls and the 3s and the 105s, again,
where l s are new orders, 3s are cancels, and 105s are trades going on.

RON WOLF: Are these in chronological order?

PETER LEIDER: They are in chronological order. As you can see, it's by time.

ARMAND NAKKAB: Are there questions?

GREGG Sl\flTH: No, not yet.

PETER LEIDER: Please, if this is confusing, it can be, and anything I didn't make clear, let me
know. Okay, so to begin, and I'm going to try to get through this as best I can. We're going to
begin with this 30 lot order, which was entered at 9:04:55.477. As you can see, we go down to
microseconds and milliseconds. It was entered for your account by tag 50, G Smith, as a new
order to buy 30 August gold at a price of 12356. Again, I'm just going to stick to last digits at
56. It's entered as an iceberg order, and it's entered at the 6 th level of the book. This is followed
approximately in the same second by another order to purchase 10 contracts at a price of a half,
and it is resident at the 12th level of the book and again it's entered as an iceberg. At 9:04:56.107,
shortly thereafter, you went to another order to buy 10 contracts as an iceberg, and it's entered at
the 15th level of the book, so these orders are getting put fm1her and fmiher away from the best
bid in the book. And at 9:04:57.464, you went to a sell order to sell 10 at 69, not as an iceberg,
exposed to the market, 10 contracts. For 10 contracts at the 10th level of the book. This is
followed by another order at 9:04:57.632. I'll tJ.y to skip the milliseconds, ifl can, to sell 10
contracts at 68 entered at the 9 th level of the book.

ARMAND NAKKAB: Just to be clear, Peter, those are sells, right? So there's buys and sells.

PETER LEIDER: Buys and sells are intermingled.

ARMAND NAKKAB: Right, so the icebergs are buys, to make the record clear, the icebergs
are buys, and the outrights are sells so far.
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PETER LEIDER: Conect. Okay, this is followed, again, I was at here. The last order was
entered at the 9th level of the book. This was followed shmtly thereafter by an order to sell 10 at
67, entered at the 8 th level of the book an order to sell 10 at 66 entered at the 7 th level of the book,
an order to sell 10 at 63 entered at the 3rd level of the book, and at 9:04:58.275 an order was
entered to sell 10 at 61 at the first level of the book,

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followed sho1ily by after two orders to sell a total of 20, a 10 and a 10 at 62, which, again, as the
market moves, you're going to retreat a little bit, but these are essentially at the second and third
level of the book at that particular time. At this point, we're getting to 9:04:59.202, we see
cancels, three codes. An order to sell 10 at 61 is canceled from the book, which was at that point
at the second level, an order to sell 10 at 61 as before was canceled also from the second level.
10 at 62 was canceled also from the second level at that point again, the market is gyrating
slightly. 10 at 63 are canceled from the second level. At 9:05:00.366, 10 are canceled at 66,
which were at the 5th level at that juncture. Shmtly thereafter , 10 at 67 were canceled at the 6 th
level, followed by 10 at 68 and 10 at 69, which were all canceled.

ED FURLONG: So can you just explain kind of what you intended to do with that sequence,
you kind of - you entered buy over then- go ahead.

GREGG Sl\flTH: In this pa1ticular sequences-

ARMAND NAKKAB: You understand the question?

GREGG Sl\flTH: Yes, I do. I understand the question. In the paiticular sequence, I can't tell
you exactly. I can tell you what may have happened at the time. I mean, I don't remember those
orders at the time. It looks like I put bids in the market and offers in the market, and at some
point when I came in, in the 6s, I'm usually on both sides of the mid. So, if you look, I would
imagine the mid was somewhere between my buys and sells, and, when I sta1ted putting sells in,
as I moved down, there was probably orders entered in between my order and my next order.

ED FURLONG: Okay, so were you tlying to play both sides of the market here?

GREGG Sl\flTH: I'm always on the bid and offer. What do you mean by play both sides?
[OVERLAY]

ED FURLONG: Did you intend to play both sides?

GREGG Sl\flTH: Yeah, I'm making a two-sided market.

ED FURLONG: So you wanted to buy and you wanted to sell.

GREGG Sl\flTH: Yeah.




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ED FURLONG: Okay. So why did you cancel all the sell orders right after you entered them?

GREGG Sl\illTH: At some point, there was probably other orders that were entered
simultaneously in my orders, whether it's an electronic system that's entering an order when I
enter or not, I can't be sure, but it certainly looks like it, so I cancel and see what happens after
that, so I'm reacting to whatever happened at that time. You'll see at some point that I do get
close to being the market order, and then you can see that my order moves away. I've never seen
that book level align before, but it does give me an explanation .. .it does help me explain what
may have happened, that my offer had started to move away, meaning there were other orders
generated after I put an order in.

ED FURLONG: Okay.

PETER LEIDER: Okay. We're going to go down to-go in sequence to trade time-book time
9:05:03.106, again, you entered an order to sell 10 contracts at 70 at the 9 th level of the book
followed by 10 to sell at 69 at the 7 th level of the book-at the 8th level of the book, in order to
sell 10 at 68 at the 7 th level of the book, 10 at 67 at the 6th level of the book, a total of 20, two 10
lot orders at 66-

RON WOLF: These are all sells?

PETER LEIDER: These are all sells, I apologize. Please slow me down if I'm going too fast.
And followed by 10 sells at 65 at the 4 th level of the book and a total of 20 sells in two 10 lot
increments at 63, which are resident at the 2 nd level of the book followed by three 10 lot orders to
sell at 62, which were resident at the first level of the book briefly.

RON WOLF: What quantity were those three?

PETER LEIDER: These were all 10, and they were all under the price of 62.

ARMAND NAKKAB: Yeah, but, just to be clear, only two of them were the best offer. The
other one was-

PETER LEIDER: Momentalily, like I said, Mark is probably-that's going to move the book
level.

ED FURLONG: So is your intention to sell 130 lots there? I mean, you put in 13 consecutive
sell orders.

GREGG Sl\illTH: Now, it looks like I canceled a bunch of orders that I had put in, the ones that
we just spoke about, and then it appears when I canceled that orders were entered-I mean, it
looks like the market moved back higher.

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I'm trying to go by book level for me. So it looks like when I canceled my orders the market
changed, and, again, my guess would be that there were orders that were generated with my
orders, okay, that I had said that could have been the reason why I canceled, and then, when I
canceled my orders, those automated, again, it's just a guess on my pait, but those automated
en1::Iy orders that were with me canceled, and it looks like I almost came back in looking to do the
same thing again, if you look at that, and it almost looks like the same situation happens again
that once I get towards the market, it seems like there are orders generated that puts me at a level
away from where I was.

PETER LEIDER: Okay. Coming back to 9:05:07.146, you cancel the three orders closest to
the top of the book which were now at the second level to sell at 62. Those were, excuse me,
those were all canceled out of the book. At that point, 9:05:07.147, you put an order in to
purchase 10 lots at the san1e price, 62, and based on the 105s, which I had previously noted, it
starts to trade. You're doing them a little better. You bought a total of three at 61, another one at
the limit 62, 5 more at your limit, and there's your fill, three at 61, the balance at 2, and, as you
can see, as you're getting filled, you bought two, it goes down to 8, you bought another one, it
goes down to 7 until your order's filled. Are you able to follow me?

GREGG SMITH: Yeah, I have a basic concept.

PETER LEIDER: Okay.

ED FURLONG: So at this point, you basically - you cancel, I guess ,30 lots of 10 lot sell
orders, and you replaced it with a 10 lot buy order, that you got filled. Can you kind of explain
why you did that?

GREGG SMITH: Maybe because the market went down 70 or 80 cents since I started trying to
sell. I couldn't-it was a decision based on what the market was at the time. It's hard for me to
tell you why I put a 10 lot order in at that time. I'm sure I saw something that I said, all right, let
me buy 10 lots here.

PETER LEIDER: Okay. We're at 9:05:07.564, after that order's filled the order that you were
working to sell at 63, a 10 lot order, a 10 lot order, two 10 lot orders at 63, a 10 lot order at 64
which you were working to sell and a 10 lot order at 65 which were all resident were canceled,
and they were canceled from the top of the book, moving away from the top of the book.

ED FURLONG: Is there any reason why right after you get filled, you cancel those 40 lots and
you start by canceling from the top of the book?

GREGG SMITH: Canceling from the top of the book or the bottom of the book, it really isn't a
decision making process for me. It's more the speed where I can point and click, right, when I
cancel. So you'll see cancellations from top to bottom, bottom to top, middle. It's wherever I -
manually doing it, the speed is of essence.

ARMAND NAKKAB: So, just to be elem·, just a question for you, Gregg, you don't have any
insight to the book level, like this is laid out when you're trading?



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GREGG Sl\illTH: No, I've never seen anything like this.

MIKE SEROSSI: You can see where the market's at, easily.

GREGG Sl\illTH: Yeah.

ED FURLONG: So you do know where the book level-

GREGG Sl\illTH: Yeah, but it's not--

MIKE SEROSSI: So you do know where the book level is.

ED FURLONG: Right.

GREGG Sl\illTH: Yeah.

RON WOLF: He knows where the market is.

ARMAND NAKKAB: You know where the market is and you know where your order is.

GREGG Sl\illTH: In reference to the mid. You're just telling me exactly-

ED FURLONG: Probably 5 or 10 bids and offers on both sides of the book, right?

GREGG Sl\illTH: Yes.

PETER LEIDER: Okay, where are we here? 9: 05:08.739, you enter an order to sell 10
contracts at 67 at the 7th level of the book, 10 at 66 at the 6 th level of the book, 10 more at 66 at
the 6th level of the book, 10 sells at 65 again being entered. We're now at 9:05:10.086 time at the
6th level of the book 10 additional sells at 65 which are now down at the 5th level of the book.
We must have moved slightly. You enter 10 sales at 64 at the 4 th level followed by a total of 20
sells in 10 lot increments at 62 to sell at the 2nd level of the book and an order to sell 10 contracts
at 61, which is the best level resident of the book.

[00:30:00]

At which point, there is a trade going off conesponding to this last, 10 lot sell put in at 61, you
fill seven contracts there at 61 , working 3, okay. You put in a new order to sell 10 at 61 at the
first level and another order to sell 10 at 61 after that fill at the first level followed by canceling a
sell at 61, which had now migrated to the second level of the book, again, we're moving slightly,
another 10 sells at 61 get canceled, and the balance, which is the three lots remaining of the 10
lot order that got filled gets canceled, you had sold 10. The 10 lot order, it got traded on a little
bit, that's all out of the book now. You continue to cancel orders. We're at, for the record,
9:05:11.771. You cancel 10 sells at 2, 10 additional sells at 2, which are now resident at the top
of the book. They're out. Then, as you alluded to before, going away from the top of the book,



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you cancel 10 sells at 4, 10 sells at 5, and, if you'd be kind enough-IO sells at 5-and 10
additional sells at 6, another 10 at 6, another 10 at 6 are being canceled, another 10 at 6 are being
canceled again by the 7th level of the book, all four of them. 67s are taken out of the book and
68s are taken out of the book by 9:05: 13.037, and those last two I know were at the 8 th level of
the book.

ED FURLONG: So with that sequence there, you placed I guess 11 sell orders, and you kind of
got nibbled on, and then you immediately canceled 14 sell orders. So can you just kind of
explain why you canceled all those? I mean, did you want to trade the sell orders or not?

RON WOLF: When you say nibbled on, you're talking about the 7-

[0VERLAY]

GREGG Sl\!IlTH: Again we'll go, but I want to trade all the orders I put in. If you look, I'm a
range trader the majority of the time, and I'm near the market a majority of the time. In this case,
it looks like the market was moving away, and it looks like I'm canceling, taking a look at the
market and re-entering, canceling, taking a look at the market and re-entering.

ED FURLONG: But when you say moving away, moving away from your sell orders or-

GREGG Sl\!IlTH: My sell orders. This tells you the book level, but it doesn't tell you if an
order joined my order.

ED FURLONG: If it was moving away from your sell order, why would you cancel it?

GREGG Sl\!IlTH: If other orders were joining my order, I would cancel them to see if they
were going to stay in or not. I mean, there are orders constantly, like I said, and, again, it's my
guess, but it ce1iainly looks like there are simultaneous orders that go in with some of my orders,
so, ifl put a 10 lot order in, somebody could have milliseconds later put a 30 lot order in with
my 10, okay.

ARMAND NAKKAB: There's a bit of a phenomenon going on in the marketplace that Gregg
has brought to our attention, to Compliance's attention over the course of the last few months,
and, if you guys are interested, we're happy to walk you through that, which lends itself to what
Gregg is doing and tiying to optimize the value for the firm and for the clients, so I think, if
you're interested in that phenomenon, we're happy to walk you through what he's seeing in the
marketplace.

PETER LEIDER: Absolutely. Can we continue with this or would you prefer-

ARMAND NAKKAB: Absolutely. No, no, no.

GREGG Sl\!IlTH: It's up to you guys, whatever.




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PETER LEIDER: Let's finish this, and then we'll stop. Okay, where were we here? Here I
believe. At 9:05:13.714 you entered another sell order at 67, which is still at the 8th level of the
book as per the previous two cancels, followed by an order to sell at 66, 10 contracts, an order to
sell 10 at 65, again, going down the level of the book an order to sell at 63, an order to sell at 2, a
10 lot order, again, all of them are 10 lots, for the record, to sell at 1, and another order to sell at
1 marching towards the front of the book where it's gyrating the first 10 lot order at 1 went at the
2nd level, and now it's at the 3rd. An order is entered to sell 10 at 60, which is at the 2 nd level,
another order to sell 10 at 60, another order to sell 10 at 60 and a 4 th order to sell 10 at 60, which
were all resident at-the last 60s, all resident to 2nd level of the book. At 9:05: 15.772
milliseconds, those 4 orders to sell at 60, still at the 2 nd level of the book,

[00:35:00]

10, 20, 30, 40 at 60 get canceled. 61s get canceled, which are a 3rd level. 62s get canceled 10
lots only, and the 63s get canceled again. You can see the level of book changing slightly
because both these orders were at the same level for a split second.

ED FURLONG: So is there any reason why you place your orders, these sell orders from you
sta1t at the bottom of the book and sta1t going up towards the top of the book, and then, when
you cancel them, you cancel them from the top of the book back towards the bottom?

GREGG SMITH: It's purely the easiest way to cancel, you're closest to the mid, canceling your
way back up. I mean, I'm sure I don't do that all the time, but, if I'm going in and out, I'm sure
it's just click, click, click, click. I'm not canceling them-they're not-that's not a one click
cancel, is it? Because it almost seems hard to cancel individually that, so I can't-if you're
telling me that it's milliseconds that I'm clicking on all those other ones, I would have to say-
well, all the orders didn't delete, right? Is that correct?

ED FURLONG: You can tell if you look at the-

GREGG SMITH: It's not a delete at all, so that's not the case.

PETER LEIDER: Probably-

GREGG SMITH: Oh by price, one click by price, okay, that's the one that seem like it, okay.
But it's purely for point click reasons, and it's quicker to go like that. I'm sure there are other
times when it's not exactly that way.

PETER LEIDER: Okay. Where was I at here? Down to-thank you. 61s, second level, okay.
Here.

GREGG SMITH: That was two times ago. We're one more set down. We're much further
down.

PETER LEIDER: Okay, thank you. Okay. Possibly digressing, 9:05:15.309 it's an order to
sell 10 at 60. Again, that was right after another order to sell 10 at 60 for a total of 40 all at the



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second level, and the 60s corning out, again, I know I'm going over this again. The 62 is corning
out. The 63 is coming out, up to the 4th level of the book. At 9:05:16 and 914 milliseconds, you
enter a new order to sell 10 at 65 at the 6th level followed by an order to sell 10 at 62, an order to
sell 10 at 61, ranging from the 6th, the 3rd, down to the second level of the book, another order to
sell 10 at 61, another order to sell 10 at 61, another order to sell 10 at 61. These were at the 3 rd
level of the book refeni.ng to the orders that were offers there at 61. And, if you'll be kind
enough- whoa. Beginning at 9:05:18 and 217 milliseconds, you cancel these orders. Still a
resident at the 3rd level of the book, all 40 of them at 61 get canceled, and, at that point, which is
9:05:18.220, you put in an order to purchase 10 contracts at 61, which according to the 105s get
filled immediately, a 5, a 1, a 1, and a 3 for a total of 10 working nothing. So you got filled on
your 60 bid right there. At that point-

ED FURLONG: So just real quick, again there, you entered sell orders, then you canceled
them, and then you replaced it at the same price with a buy order. So I mean were you t:Iy ing to
create s01i of an illusion of selling interest in the market or what's going on there?

GREGG SMITH: Didn't I cancel sell orders before I bought?

PETER LEIDER: Yes.

GREGG SMITH:! mean, wouldn't that defeat the purpose?

ED FURLONG: Well, you canceled them, and you replaced it with the buy order.

ARMAND NAKKAB: But, ifhe was going to create an illusion of selling in the market,
canceling the sales would defeat that.

GREGG SMITH: That would create-

ARMAND NAKKAB: It would be the opposite effect.

GREGG SMITH: In my opinion, that would say that selling is gone.

ED FURLONG: Right, but you left in I guess you placed 7 sell orders, and you canceled 5, so
you still did leave orders in the book, and you-

RON WOLF: The 2 sell orders for 10 apiece, right?

ARMAND NAKKAB: And we think that a market as deep as August gold with two 10 orders
are going to create an illusion of selling interest?

ED FURLONG: Well, when you place 11 in a row or something like that, which you have done
in several of these examples.

RON WOLF: But only two existed at the same time.




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ARMAND NAKKAB: At this one point. So the market is seeing 20.

GREGG SMITH: There was only two orders left in the market.

ED FURLONG: Well, when you do put in sell orders, you say that that brings in orders on top
of your sell orders?

GREGG SMITH: In certain situations it does, yeah, a lot of situations.

ED FURLONG: And it's a FIFO market, right, first in, first out? As far as getting filled on
your orders, it's first in, first out?

GREGG SMITH: Yes, if it's a limit order, yes.

ED FURLONG: Right, and so, if you pull them, then the orders behind you are going to go to
the top.

GREGG SMITH: Absolutely, and, if those orders are not automatically generated, I was
inconect, okay? But, if I feel that those orders were automatically generated because I'm putting
orders in and I'm canceling my orders because I do see something changing in the market there
and it was automatically generated, then there's a good chance that they're going to cancel theirs
because it was only contingent on my orders.

ARMAND NAKKAB: That's the phenomenon we're talking about.

GREGG SMITH: If an order is contingent on my order, when I cancel my order, that order
may cancel also. If it doesn't and they go to the top, that's my loss. That's my mistake, okay?
Now they're in front of me, and I'm sure there are examples where that does happen.

PETER LEIDER: Okay, that was just the second time where you were at the top of the book,
you pulled it and then immediately put in the opposite side. So it's just cmious what the
intentions were there.

GREGG SMITH: For this particular one, I can't tell you. Maybe the market was holding at
that point, so I put a buy order in-

ARMAND NAKKAB: Do you recall? In June, do you recall this trade?

GREGG SMITH: No, absolutely. I thought we established that I don't recall the absolute
trades-okay, I thought we established that already. This is, you now, a scenario that probably
happens very often throughout the day when I trade. And, if you had asked me this yesterday, I
probably wouldn' t remember this from yesterday-




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PETER LEIDER: Fair enough. I'm going to continue. At that point, after the fills, 2s come
out, 5s come out, 5s come out. It's up to the 7th level. The 8th level comes out which is an order
to sell 10 at 6 and an order to sell IO at 7, which is at the 9 th level followed by an order to sell 10
at 8, an order to sell 10 at 9, and an order to sell 10 at zero all the way out to the 12th level of the
book all get canceled. 9:05:21.638, you enter a new order to sell 10 at 70, which is at the 12 th
level, another 10 at 70 which is at the 12th level, 10 at 68, 10 at 65, 10 at 64, and as before we're
getting closer to the top of the book. You enter 10 sales at 61 at the 4 th level at 9:05:22.434, if
you'd be kind enough to--

ED FURLONG: Now those sell orders, do you want to trade those?

GREGG Sl\flTH: Absolutely, and absolutely is the answer, yes.

PETER LEIDER: Where was I? I lost myself in the process.

ARMAND NAKKAB: You were at the 70s.

PETER LEIDER: Okay, here, thank you very much. 9:05:21.638 an order goes in to sell 10 at
70 at the 12th level, again another 10 at 70, 10 at 68, 10 at 65, 10 at 4, 10 at 1, 10 at zero, all the
way down to the 3rd level of the book at which point we had discussed iceberg orders that were
entered at the beginning of this. Okay, it was a 30 lotter to buy 56, one lot trades off that, 29 are
working, so one lot of the iceberg was placed earlier, it gets filled. Looks like you were scaled
into the market a little bit, okay. What's going on here? It's probably me, I'm sony. Okay, at
that point you enter an order to sell at 10 at 59, which is at the 2 nd level, 10 at 8-I'm not
touching anything, so it can't be me. 10 at 8, 10 at 8.

ARMAND NAKKAB: Don't wony about it, It's fine.

PETER LEIDER: It's hard to see. It' s making me sick.

ARMAND NAKKAB: It's because you 're close to the wall.

PETER LEIDER: So a total of 10, 20, 30, 40, which, excuse me, I want to be conect, 10, 20,
30, 40 at 8 at the first level of the book.

ED FURLONG: So real quick, you've got your iceberg order that just started trading. You
placed 7 sell orders right in front of it and then traded one lot and then you placed 5 more sell
orders right at the top of the book.

[00:45:00]

So I mean do you want to trade those sell orders there?

GREGG Sl\flTH: Yeah, I want to trade the sell orders and the buy orders. It's probably
spreading the market there.




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PETER LEIDER: Okay. At which point we cancel the 58s that we had mentioned, paying 10,
20, 30, 40 lots at 58. We're at the top of the book at that point. Cancel the 59s, and we cancel
the 60s, again, moving from the 3rd to the 4th level of the book. At this point, we see the two
105s. This relates to that 30 lot iceberg we mentioned where one lot got filled earlier. One lot
gets executed, one lot gets executed, three lots in total so far, we're working 27 lots of the iceberg
order. At 9:05:25.516 you enter an order to sell IO lots at 61 at the 3rd level of the book followed
by two 10 lot orders to sell at 60 at the 2nd level of the book followed by three 10 lot orders to
sell at 59. Obviously the book shifted, you can see it was at 1. Now it's at the second level, so
we're sliding around a little bit on the 59 offer. And, at this point, we're at 9:05:26.395, another
lot of that iceberg order, the 30 lotter put in at the beginning of this instance trades, 26 lots are
still working on that iceberg. At this point-actually can you scroll down a little bit for me,
please? We're here. For once I managed to keep track, I think. You enter an order to sell IO lots
at 59. This is at 9:05:26.468 at the second level of the book, followed by two 10 lot orders at the
first level of the book to sell at 58, at which point another one lot purchase of that iceberg order
gets filled, and you're working 25.

ED FURLONG: So right there, do you recall why you're only showing size on the sell side, and
you're working- you're buying iceberg?

GREGG SMITH: No, I don't recall that specific instance. I mean-no.

ED FURLONG: Okay. In what we see here, pretty much eve1ything's trading on the buy side,
the pa1t that the market can't see-

GREGG SMITH: What you can see, when you say eve1ything's trading, it looks like I get one
lot, and, again, if I can go back to that electronic orders that are entered, I mean, it looks fairly
clear that I get one, and, for some reason, I'm no longer the bid, or there are bids attached to my
bid, I get one, I get one, I get one, I get one, I get one. That's odd. You're not first with an
iceberg, but it constantly touches my order, con-ect, and then stops and moves away, touches it,
moves away, touches it, moves away, touches it, moves away.

ED FURLONG: And in between you're placing sell orders.

GREGG SMITH: Sell orders, I want to buy and sell constantly throughout the day.

ED FURLONG: But you're not getting filled on sell orders.

GREGG SMITH: Maybe there's somebody offering with me and I'm canceling. It looks to me
in general that I cancel a scale and put a scale back in.

PETER LEIDER: Okay. We're going to continue. At which point here, 58s get canceled, 10,
20, 30 lots in total which were at the top level of the book, the 59s were at the second level of the
book, 10, 20, 30, are canceled-excuse me, 40 get canceled, at which point, at 9:05:27.687, some
more of the iceberg gets filled, 1, 2, 3, 4 more lots working 21. At this juncture, you cancel
selling 10 at 60. We're at 9:05:27.855. Another 20 at 60, which are resident at the 3 rd level, 10
at 6 1 followed by another 10 lot sales canceled at the 4 th level-



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ARMAND NAKKAB: I'm sony, just to clear the record, it was 10 at 60, 10 at 60, not 20 at 60,
right?

PETER LEIDER: Yes, I meant it's two 10 orders, yes. I aggregated. Okay. At this point,
9:05:28.639, some more of the iceberg order on the buy side starts to go. Can you be kind
enough to scroll down? And incrementally, again, it was an iceberg, it appears to be going here
in one lot increments, 20, 19, 18, 17 and here the 105s associated with the purchases, and we're
at the top level of the book. Eve1ything making sense, I hope.

[00:50:00]

And you get filled on the iceberg and on the first 30 lotter, working nothing.

ED FURLONG: So, in those, is there any reason why the iceberg starts to trade more
aggressively, you pull out more of your sell orders, you cancel them?

RON WOLF: What do you mean by more aggressively?

ED FURLONG: Well, you put in one lot. You put in one lot.

EUGENE FERRARA: They're traded in milliseconds, though.ARMAND NAKKAB: And
they were all the same price.

ED FURLONG: And then you traded in 4 lots, and then you traded at 20.

RON WOLF: He was hit. He was filled.

ARMAND NAKKAB: The iceberg was in the marketplace.

ED FURLONG: Do you remember why you're pulling more of your sell orders as it starts
trading more?

GREGG SMITH: Again, I don't remember this exact trade. You keep asking me that one. I
can look at this scenario and try to recreate what I was thinking at the time. I've canceled my sell
orders 5 or 6 times so far, whether the bid was getting filled or not getting filled. I don't see a
relevance to canceling the sell order. I could just be clearing it saying, all right, let's see what
happens now, I bought something, let's see what happens now.

ARMAND NAKKAB: I think it would be useful if you guys agree, but if not, that Gregg
should walk through what his trading strategy is and how he actually approaches the marketplace
to give you some insight into why he trades this way, and I think it would be useful for him to
walk you through that.




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PETER LEIDER: I'd just like to point out before you begin, the reason we're here is because
we received several complaints about these orders hitting the market and disappearing routinely
from several different people, and quite a few of them at this point.

MIKE SEROSSI : That's why we keep asking you is your intention to trade these orders-

GREGG SMITH: Yeah. Absolutely.

MIKE SEROSSI: because they're constantly being pulled, and we did run a statistical analysis,
and it comes up to 90 some percent of-

PETER LEIDER: The orders that are exposed to the market getting canceled.

ARMAND NAKKAB: So I was just following up on that. Are we saying that 90 something
percent of the orders are exposed to the market, are actually exposed to risk, if he gets filled, he's
saying that he's ready, willing, and able to take the fill, and then, if within a millisecond or two
he's not filled, he cancels the order, right? One of the issues that he's seeing in the marketplace is
as he's putting trades in, and I think it's important for him to walk through that, when he sees an
order, it seems that there's a piggyback right on top of his bids and offers, so I think if you
wouldn't mind, let him walk through his trading strategy and how he does a day in the life of, and
then we can go into what he's seeing in the marketplace as well.

GREGG SMITH: Okay. I mean, obviously you've seen a lot of the orders. I'm a sho1t te1m
range trader, okay? I will always have-not always, but, when I'm involved, I will have bids and
offers on both sides of the market for a majo1i ty of the time, sometimes there is only one side of
the market. My intention is to, as simple as it sounds, buy cheaper than I'm selling, whether I
sell first and buy second, that's contingent on what's happening in the market. Where are we
going from here? That's the overall strategy.

ARMAND NAKKAB: Tell them practically what do you do all day.

GREGG SMITH: Practically I enter orders and decide as the market moves and as I get filled
what I'm going to do next, you know, I'm sitting clicking, what am I going to do next.
Sometimes I may cancel orders just to clear what' s going on and sit and you could see me clear
them and enter them back in just because I could clear it out and get a look at it again and see if
it moves after I clear them out or not. Other times I'll cancel orders because it appears that
somebody's constantly piggybacking my orders.

MIKE SEROSSI: Other than what you're seeing on your TT screen, the volume that you can
see in the buy and sell, is there any other influence that comes into play?

GREGG SMITH: Yeah , I look at three main conelated markets. I'll look at the Crude market,
the Euro market, and the S&P market. There is also a spot broker, EBS, okay, that's constantly
giving an over the counter spot market on a spread basis, similar to futures market.




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PETER LEIDER: I'd just like to point out that in looking at this another way and based on
some of the complaints that we've had, it just appears at times that the purpose of some of these
IO lot exposed orders

[00:55:00]

and the way they're scaled into the market, it could be construed that they're being used to hy to
march the market down to your iceberg, because they're getting pulled after the iceberg gets
filled, which is also pa11 of the reason why we're here. So that is really the way we can
somewhat inte1pret this.

ED FURLONG: When you say piggyback your orders-

ARMAND NAKKAB: Yeah, why don't you describe that phenomenon?

ED FURLONG: One thing before that, I understand that an order goes into the market, it may
cause another order to come into the market. Maybe it's on the same price level behind that
order, but it would also cause orders to come into the market at the price ahead of that, at a better
price, co1Tect?

GREGG SMITH: It could, yeah, it appears that does happen sometimes.

ED FURLONG: Okay, so go ahead.

GREGG SMITH: Okay. Where were we?

ARMAND NAKKAB: What do you see in the marketplace, no, the piggybacking.

GREGG SMITH: Oh, it's almost sinmltaneous, and, again, it's probably a lot of the reason why
you see my cancellations is simultaneously, I'm sure it's milliseconds I enter an order, there are
orders entered based off of my order, solely based off my order.

MIKE SEROSSI: Is that what you're trying to achieve?

GREGG SMITH: That's what I'm hying to avoid. So I cancel and rebook a lot to see if they're
constantly with me. You can see from that I came in with the same orders four or five times
there and canceled them, came back in, so if you could show me what happens when I cancel and
then rebook, I'd have probably a better explanation at that time for what happened, but I'm sure I
was joined on a lot of those, canceled them, came back in, joined. When I have a scale of 6, 7, 8,
9 orders, it's usually a scale that's a ce1iain distance from the mid where I'm willing to make a
market, and the average price of those, if all 8 of them are filled, we'll call it swept up, or all 8 of
them are bought from me, then I've established a sale that could be 50, 60, or 70 cents away from
the mid, okay. Sometimes it's co1Tect and you get to buy them cheaper, sometimes somebody
buys $2 through that price, and I look at it again.

ARMAND NAKKAB: How often does that happen?



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GREGG Sl\illTH: Hopefully not as much. I'm scaling into an offer there where, if I did get
paid on any one of those sequences, it looks like I would have sold about 70 or 80 lots in
averages, 6 ½, 6.40. Okay, if somebody's coming in to buy up to 8, which happened today a
couple of times, I would have sold 60 or 70 at 6.40 and now he's 8 bid. What am I going to do?
Sometimes it goes 8 bid and it's back down at 6, and you may see me at the buy orders again,
but, again, that's milliseconds, and then I decide, you know, I'm not sitting there offering 6.20
through 6.80 thinking it's going to go 8 bid. I'm sitting there offering thinking I'm going to be
able to buy back at some point in time before the market goes 8 bid. I'm a sho11 te1m fairly, you
know, sho11 te1m trader. It happened today. I put 50 lots in, and market was trading. The big
figure may have been 4. The market was trading 4. I put 50 to buy somewhere around 3 ½ and
50 in to sell somewhere around 4 ½. Somebody came in and bid it up to 17. There was 14 ½
and 15. Somebody bid 17. It looked to me like it was a total of 500 lots and canceled, okay, so
now I sold my 5 l/2s, what do I do next? I probably enter 10 lots in to buy at 16, maybe 10 at 15
½, and so if the market came back down, if the market immediately comes back down, I'll look
at it like that. If it doesn't and it stays up there and it looks like we've established the new range,
a new $2 or $3 range, then I will go in and look to trade that $2 or $3 range. I may be buying my
15 ½ back at, 16 ½ or 17.

ED FURLONG: Why are you only on one side of the range with the exposed orders?

GREGG Sl\illTH: In that pa11icular instance, I don't really know. Icebergs now I feel there
was, up until about two or three years ago, 100-I'd say 90 something percent of our orders were
icebergs. Now when you put icebergs in it appears there's a system that reads the actual amount
you have in, and, if it's not reading the actual amount, it's reading the fact that a bid has traded
and the amount of contracts on the bid has not changed, and it bids in front of you or bids with
you, knowing that it will go to the top of the list if you have an iceberg in. And that is something
that's developed-obviously as computer systems get faster and sma1ter-it's developing, so
there are

[01:00:00]

actually- and, again, I am just guessing, but given the amount that I trade and how much I'm
staring at this market, I think it's a fairly educated guess right now that an iceberg bid is no
longer the iceberg bid it was intended to be when it came out five or six years ago. In the system
somewhere, there was a 30 lot bid-now, I was showing l s, l s, l s. In the system somewhere,
there are systems that go into this, wherever the main system is, and knows it's 30 or assumes it's
more than 30, because the bid is trading and it's not diminishing. And they're willing to take a
chance, if somebody's got an iceberg in, I'm willing to take a chance, my system's going to take a
chance and say, hey, there could be a couple hundred in there. Somebody's trying to hide
something. I'm going to take a shot and bid in front of it, and then, if it goes through that level,
then they have an automatic stop in there, but that's out there how quick it is and whether they
can see the total number or if they're just assuming because the bid amount is not dwindling as it
trades, I can't be sure.

ED FURLONG: So some market pa1ticipants could figure out that that probably is an iceberg.



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GREGG Sl\illTH: Well, anybody-

ED FURLONG: Due to the guess or the quantity

GREGG Sl\illTH: Yeah, anybody could figure it out by looking and seeing 1, 1, 1, 1, 1.

ED FURLONG: Right, but you have no idea how many lots it actually is.

GREGG Sl\illTH: No, you would not, and really the concern of an individual person clicking
we call it a GUI I guess or what I do, click on an individual trade, I can see an iceberg by sight.
What I'm saying is there are systems out there that aren't seeing it by sight. They're entering
orders based on the fact that they see an iceberg trade, boom, they're in, either with it, because
they know they're at the top of the list with it, or in front of it, so-

ED FURLONG: They would either have to jump in front of it or be at the same price behind it.

GREGG Sl\illTH: At the same price, but icebergs go to the back of the line, c01Tect? So, if you
put an order in, you would automatically jump in front of the-the iceberg will trade its initial-its
showncontract once, and then they would get the next contracts before you got the remainder of
your iceberg.

ED FURLONG: Would you say it's still easier to get filled on an iceberg in this example you
got filled out all your icebergs?

GREGG Sl\illTH: It used to be. Where did the market go after?

PETER LEIDER: You got filled on a 30 lot fairly easily, but you couldn't even get filled on
one of your 10 lots.

GREGG Sl\illTH: That depends on the market.

ARMAND NAKKAB: He did get filled on one of the 10 lots. No, he got filled on a 10 lot and
then he got filled on a partial.

ED FURLONG: I'm talking about the sell side.

GREGG Sl\illTH: I'm s01ry, but on the buy side, those 10 lot buy orders that I entered weren't
icebergs.

ED FURLONG: Right. You pulled the sells, and immediately.

GREGG Sl\illTH: Yeah, and put buy side. They weren't icebergs, because, again, sometimes-
you know, icebergs I thought were a great idea for the market to have volume out there but not
have eve1ybody see it, but, again, ifl'm going from limit order without an iceberg to an iceberg




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order, I also have to click go back, click in out, click in out, click back and forth. It almost seems
like it's impossible, to be honest w ith you.

PETER LEIDER: It's amazing ...

ARMAND NAKKAB: You can't even imagine. Sitting next to him, watching him.

GREGG SMITH: And, again, the strategy is ever evolving, and I put the orders in. Ideally if
you could tell me I'm going to get filled on eve1y order I put in buys and sales, I would love it,
and I would love it if orders didn't join me immediately on both sides, because that's a lot easier
for me not to cancel these and put them back in and cancel them and put them back in. There is
no guarantee . .. My orders are out there. I can't guarantee whether they're going to get filled or
not, but they're out there.

MIK SEROSSI: Is this the only strategy you employ? This is what we see eve1y day we look.

GREGG SMITH: In this example, it ce1tainly looks like it.

MIKE SEROSSI: Are there other strategies that you have that are different than this?

GREGG SMITH: No, in general, I'm a range trader, and you'll see me on both sides.

EUGENE FERRARA: But you do hedge client flow as well.

GREGG SMITH: Yes, it's not really strategy, that's more of a position. I'll hedge ... I make the
markets for the bank to the customers and then hedge the risk.

PETER LEIDER: Gentlemen, we were prepared to show you two more of these that were
identical. Having gone through this and you know what our stance was and why we brought you
here and having listened to your side of this. Would you like to continue to see these? They're
almost identical.

GREGG SMITH: It's the same to me.

PETER LEIDER: Well, it's for your benefit at this point, because you know exactly what we're
here to discuss, and it's just going to be I'm ve1y willing,

[01:05:00]

it's going to be more of the same.

ARMAND NAKKAB: It's up to you guys. It's your interview. We would never dictate how
you guys are-

PETER LEIDER: You won't be hmting my feelings. I don't know if I got the point across of
what we were flying to show.



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ARMAND NAKKAB: No, we get it.

GREGG Sl\!IlTH: No, I understand it. I understand.

PETER LEIDER: Okay.

ARMAND NAKKAB: We get it. I guess the question is, based on his description of how he
does his trading and the fact that he's ready, willing, and able to fill eve1y one of the trades that
he puts, the orders that he puts in, the question is do you guys feel the need to continue to show
him the same stuff or do you have what you need to make an assessment of whether this is in
your mind something you can put to bed or do you-how do you want to proceed?

MIKE SEROSSI: Well, we're still not convinced that every order you enter you intend to trade.
That's our problem, because every time we've gotten a complaint, and there were numerous, we
go to the rapid detail repori, and we see it's your orders that the people are complaining about
that are in the market and out within milliseconds or less, so that's why we're showing you this,
and I'm still not convinced that eve1y order you're putting in is something you're wanting to
trade, so, if you want to go through another one and if there's any other different trading
strategies, you know-

ARMAND NAKKAB: I guess I have a question. Do you see any other tag 50s doing what he's
doing in their-whether they're associated to a person doing click and shoot or if it's an ATS?
And, if so, have you spoken to the ATS's-

PETER LEIDER: We're not at liberty to divulge.

ARMAND NAKKAB: I get it. I know, it's rhetorical, and, if so, have you gone to the ATS's
and asked them to ratchet down their trading activities. Rhetorical.

MIKE SEROSSI: We have many open items that we're looking into that are similar in style or,
you know, means of trading. So I mean, if you want, we can go through another just if there's
something else that comes to your mind.

ARMAND NAKKAB: Yeah, why don't we do that?

PETER LEIDER: Or anything you'd like to bring to our attention.

PETER LEIDER: I think we should go through at least the second one. And, as before, if I go
too fast or you want to see something again or I forget where I was, just-hold on.

MIKE SEROSSI: So that first date was what, Peter, June?

PETER LEIDER: June 26th.




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MIKE SEROSSI: We'll say that was exhibit 1, so we're going to go to exhibit 2 would be
June-July 29th.

PETER LEIDER: And as before, I'll just go over the same things and get acquainted again
with [INDISCERNIBLE]. So, again, at 9:04:48.715 milliseconds, at that point you entered a
limit order again to sell 10 at 8 ½. It's an iceberg according to the shelf life which indicates it is
an iceberg, and you are at the top level of the book, shortly thereafter, the same second, you enter
an order to sell 10 at 88. You're at the fom1h level of the book. It's an iceberg, followed by an
order to sell 10 at 91 at the 7 th level and an order to sell 10 at 9 3 at the 9 th level, and an order to
sell 10 at 95 at the 11 th level. Again, it looks like you're scaled into the market, and all of these
orders are icebergs. At 9:04:51.777, you entered an order to purchase 10 at 78, 10 at 78, 10 at
78, a total of 40 at 78, that goes on until 9:04:52.624 from the 6th to the 7t1i level of the book. As
we know the book slightly moves. At 9:04:52.791, you entered an order to purchase 10 at 82 at
the 3rd level, followed by 10 at 83 which were at the 2nd level. Again, we can see the book
shifting. Followed by 10 at 84 which were at the 1st level. At this point, we're at 9:05:53.128.
The 8 l/2s on the iceberg. As for the first 10 lot order, we know with this instant, staits to trade,
9876543, we can see we're at the top of the book, and you got executed at 10 sales at 8 ½. At
this point, you put a buy order in to buy at 840, 84, and you quickly-

RON WOLF: How many at 84?

PETER LEIDER: This is a little tricky, because 840, excuse me, I believe this buy 20 lots-
right, it's a little tricky to look at here, because as this is going on, you're getting filled on the
iceberg, so this

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sort of would have belonged up here, okay, because this is going on kind of concurrently, you
know, you're within a thousandth of a second with that, so it kind oflooks like at this point we're
at 9:045:53.999, you canceled an order to buy 10 at 84, the 4s we were talking about at the top of
the book, a total of20 at 84, cancel buying 10 at 3, 10 at 2. Again, they were both at the 2 nd level
of the book, arguably we know the reason for that is. You cancel an order to buy 10, 20, 30, 40,
50 at 78, which were entered earlier. These were all at the 6 th level of the book.

ED FURLONG: So, again, I mean, you entered an iceberg on one side. You placed exposed
orders on the other side. You began getting fills. You got filled completely, and then you pulled
out all your exposed orders.

GREGG Sl\illTH: I got a little lost on that one. Let me-I got filled completely on one sell
order, okay.

PETER LEIDER: Yeah, to sell at 85, which is these 105s here, so this is a total of 10 lots. You
can see the count going down, as you get towards 0, so that would indicate your first 10 lot order
was filled. A buy at 84 was entered almost concmTently with that, right before you'd entered 10
to buy at 4 and 10 to buy at 4. Again, this is showing up-you're within a thousandth of a
second of it, so it's just a little tricky to read at this point of the book. It looks like these 4s kind



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of went in at the same time the iceberg was getting elected, give or take a millisecond. And, at
that point, after the iceberg is filled, you cancel out the 4s at the top level of the book, followed
by the 3s, the 2s, and the 78s that were scaled in down to the 6 th level.

ED FURLONG: Can you I guess elaborate on what you were hying to do there a little bit?

GREGG SMITH: I'm not understanding it completely at this point, to be honest with you.

ED FURLONG: The question or your strategy?

GREGG SMITH: Yeah, I'm not getting it like I got-I'm not understanding it like I understood
it before, to be honest with you. So what was the-the end result was I sold 10 lots?

PETER LEIDER: The end result was you sold 10 lots on-

GREGG SMITH: Out of scale of-

PETER LEIDER: On the iceberg.

GREGG SMITH: 50 or 60 that I had in.

PETER LEIDER: Right, and you were scaled in above, and once the first level of the iceberg
got filled entirely, again, these 84s were pretty much entered concunently with the 10 at 84
before the fill. In other words, this was going on roughly at the same time. As soon as that
iceberg got filled, you started taking away from the top level of the book and moving your
orders, canceling your orders gradually away from the top of the book.

ARMAND NAKKAB: Sorry, it's the 78s, so he only has-well, he puts in 78, 70's and, 40 to
lots of 78.

PETER LEIDER: 10, 20, 30, 40 at 78, I'm just making sure--

ARMAND NAKKAB: And the cancels looks like it adds up to 50 or 60. So where does the
extra 10 lots come from?

PETER LEIDER: The other 10 at 78 might have been---can you scroll down a little bit please?

ARMAND NAKKAB: There's even more 78s. So I'm confused.

PETER LEIDER: The 78s were entered earlier prior to the iceberg, so we sta1ted this event
with the iceberg, just to illustrate. We have to sta1t somewhere. Some of these 78s were
working earlier in the session.

ARMAND NAKKAB: Okay, so, to be clear, the exhibit is not complete, and it's missing
ce1tain ti·ades that were put into the marketplace with I guess code number 1 and then the cancels




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that you're showing us on exhibit-on this exhibit is showing some cancels that I'm not-and we
don't have the benefit of seeing the actual entries of the order, is that right?

ED FURLONG: We can go back and show you those entries.

ARMAND NAKKAB: You don' t have to. I just want to make sure that the record's clear.

MIKE SEROSSI: So there's four buy orders in the first five seconds that were entered
previously.

ARMAND NAKKAB: Before the iceberg.

PETER LEIDER: Before the iceberg, and they were resident away from the top of the book.

ARMAND NAKKAB: And the iceberg was a buy or a sell?

PETER LEIDER: The iceberg was a sell.

MIKE SEROSSI: Two sell icebergs.

ARMAND NAKKAB: And then he's putting buys in at 78.

ED FURLONG: He entered 5 buy icebergs.

GREGG Sl\illTH: Yeah, I wanted to give-it looks-what was the end result, that I sold 10
lots at 8 ½ and then I canceled my

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buy orders and left my sell orders in, okay, did I re-establish the buy orders again immediately?

PETER LEIDER: That's where we're going.

GREGG Sl\illTH: Then I can - yeah, then I can get- I'm trying to get a feel--ARMAND
NAKKAB: The buys are back in, right there, 78, 77, 79, etcetera.

FEMALE 1: And just, before we continue, if you have any questions or need clarification on
the orders that are not on this screen but you had put in before and you're canceling now, we can
go back. Do you have an understanding of what occUITed?

PETER LEIDER: They're easy for me to show you when those were put in.

GREGG Sl\illTH: Yeah, there could be something before that's significant or not. I don't
remember a particular order, but we can-




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ARMAND NAKKAB: So, just to ask a question, just to level set, is this the entire exhibit that
we're looking at or is this a portion of it?

PETER LEIDER: We did not want to show an entire day. At some point we have to-we
don't want to be here-for a month.

[OVERLAY]

ARMAND NAKKAB: No, I get it, but just for the record, we're not looking at a complete day's
trading activity. We're looking at a point in time that market oversight actually pulled out and
actually-

ED FURLONG: It's up to you. If you want to look at--

FEMALE 1: Do you need to see the orders that you placed before that are being canceled now,
I think it was two?

GREGG SMITH: I don't know. I may need to see them to give a better explanation, but at this
point in time I don't know what the explanation.

ARMAND NAKKAB: So what's the question on the table actually?

GREGG SMITH: That's what I was wondering about.

PETER LEIDER: Well, we were just basically this example, as per before and as per before
we sta1t ed showing you, it just appears that the exposed orders were in response, looking at it
this way and from om point of view that the orders that were exposed, the 10 lot orders were in
response to the iceberg, because, as per before, once the iceberg gets filled, orders around that
level and on the opposite side of the market were pulled out of the market. That was the
concern.

ARMAND NAKKAB: The buy orders, so we have the sell iceberg, and you're canceling buy
orders. So the question asked is why would you have done that?

GREGG SMITH: Why could I have done this at this point in time, why would I do it at this
point in time?

PETER LEIDER: Why would you enter the buy orders or some ofthe-

RON WOLF: It's two questions. Are you asking why he entered the buy orders or are you
asking why he sold the buy orders? The end of the buy orders were the--

ED FURLONG: --the scenario, and now we're going back.

RON WOLF: You know, if he's putting an iceberg to sell at 85 and he's entering buys at 78,
that's easy to see why he entered the buy orders there.



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PETER LEIDER: I'm not following that.

GREGG Sl\!IlTH: I kind of lost that.

ARMAND NAKKAB: So why don't you walk them through at the time what you perceive your
strategy was?

GREGG Sl\!IlTH: What I think might have happened is that my scale probably moved in too
tight. My buys and sells were probably too close at some point in time. When they get closer,
you will see me cancel more often than not one or two sides. I'm not going to-you know ,
making 10 or 20 cents is great buying and selling, but the risk reward on that is just not
something that I want to do on a continual basis. So, again, I could have-before you told me
that I probably re-input buy orders, I was telling you that. You know what? I probably wiped
them out, and I probably re-inse1ied buy orders. I only sold 10 lots. What did I have in, 100, or
50 or so? You know, I didn't get filled on all my orders. But the spread was probably moved to
a position that was too tight. Whether I was canceling the buys or the sells at the time is
contingent on what was happening at the time.

ED FURLONG: Why did the pattern only occur on one side of the market?

GREGG Sl\!IlTH: I don't understand.

ED FURLONG: Why does the cancellation only occur for the most pa1i on one side of the
market?

PETER LEIDER: For what we refer to as the exposed orders, meaning not-

GREGG Sl\!IlTH: In this pa1ticular instance, it does, but I could probably tell you that, if you
look at the entire day, I'm sure you 're not going to find this all the time. I'm sure you're going to
find where I was buying 40s, 30s, and 20s and I canceled the buys.

PETER LEIDER: Okay. Would you care to continue through this example or-?

GREGG Sl\!IlTH: Sure.

PETER LEIDER: Okay, I'm just going to pick up where I left off, ifl can remember where this
is at that point. We were at the buys, get back in, okay. At 9:04:55.027, you enter an order to
purchase 10 contracts at 78, 6th level of the book, followed by an order to buy 7 at the 7 th level of
the book, a total of 40 lots in 10 lot increments at 79 go in, ranging from a level up to the 5th and
6th level of the book,

[01:20:00]

a total of 20 contracts, 81 go in at the 4 th level of the book in 10 lot increments again, 10 at 2 at
the 3rd level of the book and 10 at 4 at the 1st level of the book, and another 10 more in addition



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to that 10, so a total of 20 at 4, and we shifted, those are now at the second level of the book.
We're at 9:04:58 and 9:50. At this point, 20 at 84, 10 at 82, and a total of20 in 81 ranging from
the 2 nd to the 4th level of the book get canceled. 9:04:59.931, resubmit a buy at 80, 20 at 81 in 10
lot clips at the 4th level, 10, 20, 30, 40, 50, no excuse me, I'll go again. 10, 20, 30 buys at 82 at
the third level of the book, and that was by 9:05:00.755, and at 9:05:01.115, you cancel out the
30 lots at 82, which are still at the 3rd level, cancel out 20 contracts at 81 and 10 at 80. At this
point, 9:05:02.3 16, if you'd be kind enough-you enter a purchase for 10 at 79 at the 7 th level
followed by a purchase at 81 at the 3rd level, a purchase at 83 at the 2 nd level, a purchase at 84, 10
lots each at the 2nd level, a total of 30 at 85 were entered by 9:05:03.500 all at 2 nd level. At
9:05:03.667, you canceled the three closest orders to the top of the book at that point, which were
the 85 purchases and re-enter 30 purchases at 86 at the first level of the book by 9:05 :04.109. If I
may at this point, another one lot of the ice bergs that were resident in the book earlier-

ARMAND NAKKAB: It's not another one, it's the first one.

ED FURLONG: Can I just ask you a question? Your top layer of the book is three 10 lot offers
or three 10 lot bids at 85. And then you immediately cancel them and then replace them with
three 10 lot orders to buy at 86 right before your sell iceberg at 88 begins trading. Can you tell
me why you move those 30 lots to buy one price higher, one price closer to the top of the book?

GREGG SMITH: The market could have gone from 8 ½ bid or 8.60 bid, 8 ½ bid to 8.60 bid.
Something changed after I put the orders in. It looks like I put them in, canceled, replaced,
canceled replaced either 10 or 20 cents higher or 10 or 20 cents lower, give or take which order
you pick out.

ED FURLONG: It was milliseconds there. I mean, this whole sequence that he just ran
through was entering buy orders, canceling buy orders, then, as you get closer to your resting
iceberg, you get more aggressive with the 30 lots, with the 85s, cancel them, then you re-enter
them at 86 immediately before the sell iceberg sta1ts trading.

ARMAND NAKKAB: I don't know that he got aggressive. I think it's just consistent with his
trading pattern. I think that characterization is a mischaracterization. He's not changing his
quantity, and he's not changing his trading style in any way.

ED FURLONG: Well, it's 30 lots at the top of the book for spot gold is pretty aggressive.
What would you say is the-say on average what is the top player of a queue on gold?

GREGG SMITH: I don't know.

ED FURLONG: 5 lots, maybe 10?

GREGG SMITH: Sometimes, but not all the time. I mean, there are hundreds at the top layer
sometimes. I mean, I'm at the top layer for volume sometimes, depends on the situation. Okay,
go ahead.




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ARMAND NAKKAB: I think the one statement that I would make is that I think we're looking
at this in a vacuum without having the benefit of what the market conditions were on this
paiticular day, and I think that's going to dictate very much how his trading activity's going to
play into what you're seeing, so I think, you know, knowing and understanding what the market
was, what the volume was, what the range was-

ED FURLONG: We can see that information.

ARMAND NAKKAB: I'm sorry?

[01:25:00]

ED FURLONG: We can see that information.

ARMAND NAKKAB: Okay, I get that, but we here sitting today don't have the benefit of that,
and you're asking us questions pretty much in a vacuum, because we don't have the benefit, he
doesn't have the benefit of, A , recalling the trade at the time, and we don't have an exhibit that
says, okay, trading volume in the range is so and so to put him in the day, so just for the record.

ED FURLONG: We don't have the benefit of sitting with you while you're trading to see it.

PETER LEIDER: Okay, I'm going to continue, ifl may. At this point, one lot of the earlier
iceberg at 88 gets filled, working 9.

GREGG Sl\illTH: It's getting a little fuzzy.

PETER LEIDER: Which I apologize for gentleman. At which point it's 9:05:04.290, it looks
like you cancel a total of 30 contracts at 86, which were on top of the book at the 1st level
followed by 10 contracts at 84 and 10 at 83 which were out by 9:05:05.595. And, if you'd be
kind enough. At this point, it's 9:05:05.283, you enter an order to purchase 10 at 83, an
additional 10 at 83, an additional 10 at 83, an additional 10 at 83, a total of 4 at 83 which go
again in books moving from the 4 th to the 5th back down to the 4th level of the book, followed by
a purchase to buy 10 at 84 at the 3rd level of the book when they went in at 9:05:05.945. At this
point, you get filled on another one lot of the iceberg that was working above the market,
working 8, and the rest of them start to go, 7, 6, 5, and you get filled on an additional-on that
additional order of the 88s you were working on the iceberg. If you'd be kind enough.

ARMAND NAKKAB: Did you have a comment, Gregg?

GREGG Sl\illTH: Yeah, I just wanted to say- I mean, it looked at one point again that it went
up, touched my iceberg, and then I got one lot on the iceberg again, and something may have
happened at that time. Another order may have came in with me or in front of me, and then I
canceled my bids and re-established my bid. It seems consistent that it constantly goes up and
touches one side of the order whether an iceberg or an outright limit order.

ED FURLONG: For the most part it's hitting your iceberg orders.



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GREGG Sl\illTH: Yeah, from one lot being executed.

ED FURLONG: Right, and then we saw the remaining 9 go milliseconds after you entered 5
layers of 10 lot buy orders.

GREGG SlVIlTH: But I canceled the buy orders first, correct?

ED FURLONG: Well, you canceled, then you replaced, then you replaced.

GREGG Sl\illTH: Which I almost constantly have done in each example, sell orders or buy
orders. The first time it was sell orders. This time it's buy orders.

PETER LEIDER: Okay, at 9:05:06.130, enter several new orders, 10 lot increments, again, 10,
20, 30, 40 lots at 86 go in, ranging between the 2 nd and the 4 th level of the book, and at
9:05:07:02, all of them, the 40 lots I just mentioned, which were now residing at the 4 th level of
the book all get canceled. At 9:05:07.195, enter an order to buy 10 at 6 at the 3rd level of the
book followed by 20 at 7 at the 2nd-30 at 7, pardon me, top of the book-at the 2 nd level of the
book, I apologize, followed by 10, 20, 30 contracts at 88, which the market shifted again, all at
the 2 nd level of the book. 9:05:08.347, you cancel 10, 20, 30 contracts at 88, still at the 2 nd level
of the book, and 10, 20, 30 contracts at 87, which were at the 3rd level of the book. And if you'd
be kind enough. Let's see, the 30 book. You canceled the 10 at 86. We're at the 3 rd level of the
book as well at that point. We're at 9:05:08.856 for the record. Cancel the 84s, which were at
the 5th level of the book. 10, 20, 30, 40 lots at 83, again, 10 lot clips resident at the 5th and 6th
levels of the book get canceled by 9:05:10.593. At this point, 9:05:11.024, about a minute later,
you enter an order to buy 10 at 83 at the 4 th level, 10 at 84 also at the 4th level, been explained,
another 10 at 84

[01 :30:00]

at the 4th level, 10 at 85, another 20 at 85 so far that I can see, 10 at 86 at the 2 nd level, 10 at 87 at
the 1st level and another 10 at 87 also at the 1st level, so 20 working at 7 at the 1st level. At this
point it is 9 :05: 12.460, 20 lots at 7 which were now at the 2 nd level of the book get canceled. 10
at 86 at the 3rd level come out. 20 at 85 at the 4 th level come out, 20 at 4 at the 3rd level come
out, 10 at 3 at the 4 th level come out.

ED FURLONG: So, at that point, you're re-adjusting yom buy orders. Why aren' t you re-
adjusting yom sell orders? It's always on one side that you're placing and canceling.

GREGG Sl\illTH: I don't know.

PETER LEIDER: It seems to be predicated on at least here in this, predicated on getting the
iceberg, because it's always on one side of the market. I think that's what this point was. But, at
any rate--




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ARMAND NAKKAB: I would argue that- are you reaching a legal conclusion there? That's
what it is?

PETER LEIDER: No,just pointing it out, that's all. Let's see, at this point, 9:05:15.688, you
enter an order to sell 5 deviating from what we've seen at 89, 132.89 at the second level of the
book followed by a purchase of 5 at 9:05:17.61 at 83 for a purchase of 10. I didn't make myself
clear there, I'm sony, purchased another 10 at 83, purchased another 10 at 4, another 10 at 4,
another 10 at 5, 10 at 6, 10 at 7, 10 more at 7, a total of 30 at 7, and 20 at 8 ranging at that level
from the 5th up to the first level of the book with the 88s, at which point- 28 at 88, to be conect,
at this point, 9:05: 19.508, 28 at 88 get canceled again in 10 lot increments away from the top of
the book. 30 at 87 get canceled from the 2 nd level of the book. 10 at 6 come out at the 2nd level.
10 at 5 come out. And at 9:05:20, you re-enter an order to buy a total of 20 at 5 at the third level
of the book, which you cancel both at 9:05:21.181. I'm sony for this. Again, re-enter a total of
20 lots at the 3rd and 4th level of the book, followed by an additional 10 lots re-entered at 86 at
the 3rd level of the book. It's really impossible.

ED FURLONG: So at that point there, this was similar to what you did before. You placed 20
lots to buy at 85. Then you canceled them. Then you immediately replaced them with 20 more
at 85, then you added another 10 at 86. Is there a reason for you placing more orders closer to
the market there?

GREGG SMITH: It could have been the same reason that, when I placed the original orders, it
looked like something else came in with me, I canceled and replaced. It looks the same to me.
There I did-I mean, there's a 5 lot order that went in on the sell side that's not an iceberg, right?
Okay, all right. So, again, it's probably for the sake of time again both ways, but it looks to me
like it's the same, cancel and replace a scale, see how the market reacts. The market reacted to
my scale, I canceled it and then replaced it based on what happened in between. I can't see-am
I canceling my scale and is the market moving one way or the other after? It's tough to
determine by just looking at this. Again, I'm clicking, and I'm clicking, and all I have is the lines
moving like this, so I'll bid, offer, bid, offer, bid, offer constantly.

PETER LEIDER: Okay, I think we're going through this now.

MIKE SEROSSI: When you said canceled and replaced the scale, what are you trying to see?
You said you're trying to see how the market reacts.

GREGG SMITH: When I put, like we had said before, it appears when I put some bids in that
there are automated entries going in along with mine or

[01:35:00]

maybe small in front of mine or with mine, so I cancel the order, see how the market reacts to my
cancellation, okay. If there was an order entered with my order, odds are they're going to cancel
when I cancel my bid, and then I replace. That's constantly what I do. If they cancel three
levels, then you may see me start again at a different level. Just-




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MIKE SEROSSI: To see if they come back or to see-

GREGG Sl\illTH: It appears here that maybe they were constantly coming back with me and I
was constantly canceling and adjusting. They're coming back, I'm canceling adjusting. I know it
sounds strange when you look at it as quickly as it's going, but that is-I am looking at it. When
I put 10 in like, it will all of a sudden become 19. Then it will all of a sudden become 21. I can't see
that here. If you tell me I bid at 8.80 and then you told me that another 8.80 order came in 2
milliseconds after my order, that was for 1, 2, 3, 4, 5, 6, 7, that could be exactly why I canceled.
And the majority of my cancellations is for that, and you've seen me put them back in almost
immediately, because then I'm seeing if they're canceling with me.

MIKE SEROSSI: For what pmpose?

GREGG Sl\illTH: It doesn't do me any good to get a fill if somebody else is bidding with me.

ED FURLONG: But, when you have a sell order and somebody comes in on top of you, why
don't you cancel that too if that's why you're canceling?

GREGG Sl\illTH: You lost me.

ED FURLONG: Well, you're placing bids, and you're canceling them because other orders
come in on top of them. You place sales, and you leave them in in this example.

GREGG Sl\illTH: It could have been a price level I picked earlier. The other example I was
the opposite way.

ED FURLONG: Right, so it was exactly the same but opposite sides of the market.

GREGG Sl\illTH: Yeah.

ARMAND NAKKAB: And, keep in mind, he's also hedging client flow, so the sale may be a
hedge of a client flow product. It may be a different-he does that and then he's also got other
responsibilities, which is hedging the actual client trades that come in, so the sale could be the
hedge to that client transaction.

GREGG Sl\illTH: You'll ah-eady see resting orders throughout my book that aren't as close to
the market, you know, depending on what's there in the order book.

MIKE SEROSSI: Are you the only one doing these hedges that are coming in?

GREGG Sl\illTH: When I am in, yes. If I'm out, somebody else will replace me.

EUGENE FERRARA: So, Gregg, what you're saying is you'll enter an order to buy at 10,
someone else will join you, you'll cancel to see if they cancel as well. If they cancel, you'll put it
back in.




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GREGG SMITH: If they cancel, I look at what happens. I'll cancel, and I'll see what happens.
And, if they don't cancel, then maybe I got to bid higher. If they do cancel and as I'm canceling,
whichever way I'm canceling, whichever order I'm canceling, I'm looking to see how that
market's moving, okay? I may come in and re-enter. Ideally I probably wanted to buy 50 lots at
an average price of the scale that you're seeing, okay? I'm not willing to buy 50 lots that's 10 or
20 cents away from the mid of the market, but I am willing to buy 50 lots at an average price that
could be 60 or 70 lots away from the market. And, again, when you see me enter both sides
initially, and, again in this example, it's usually-I'm usually looking at market and measuring,
okay, here's the middle, I'm going to put sales in buys in, and I'm going to put buys in sales in
and then adjust accordingly to what happens.

MIKE SEROSSI: And, again, you're on your screen without anybody else outside influence,
people telling you? This is all on your own volition?

GREGG SMITH: This is me sitting there staring at the screen. The other items, like I said, I'll
make markets to the outside. Customer trade I'll hedge the house position.

PETER LEIDER: I'm going to continue through here. A couple of more 105s were part of that
here's the 5 lot order we discussed before to two, another was at the 5. Oh, that's part of the scale
that's going. Yeah, those were the 5 sales, okay. At this point, 9:05:21.791, you enter an order
to purchase 10 at 86 at the 4 th level followed by two orders to purchase 10 lots each at 87 at the
3rd level followed by 2 additional orders to purchase at 88 at the second level, and that occuned
by 9:05:22.467. At 9:05:22.657,

[01 :40:00]

you cancel buying 10 at 88, a total of 20 at 88, cancel the 20 at 87, 10 at 86 and 10 additional lots
at 86 were residing out to the 4 th level. At 9:05:23.501, you entered 10 additional buys at 86, 10
at- a total of 30 at 87, and 10 at 88. All are roughly give or take at the second level of the book
at this point. 9:05:24.367 you cancel your 88s at the 2 nd level, your 87s, 20 lots, 30 lots, and your
10 at 86s which are now out to the 3rd level of the book. They seem to be replaced at
9:05:25.185 with a buy at 86 10 lots at the 3rd level, a buy at 85 10 lots at the 4th level and a buy
at 86 at the 3rd level at that point. At this juncture, 9:05:25.877, you cancel your buys at 86, a
total of 20 lots at the 4 th level, your buys at 85, which are at the 5th level, a total of 30 lots in 10
lot clips and re-enter at 9:05:26.233 10 contracts to purchase at 85 at the 4 th level, 10 to purchase
at 86 at the 3rd level, 20 at 87 at the 2nd level, 20 at 8 all again in 10 lot increments, which are
now at the 2nd level of the book. 9:05:27.305, you cancel buying 10 at 8, a total of 20 at 8 at the
second level, 20 at 7 10 lot clips, and 10 at 6 at the 4 th level. 9:05:28.028 you enter a 10 lot
purchase at 6 and a 10 lot purchase at 5 at the 3 rd and 4th levels. At this juncture, 9:05 :28. 796,
you cancel 10 to buy at 6 and 10 to buy at 4 and 10 others to buy at 4. You've been working a
total of 20 at 4. Those were at the 5 th level. You replace 10 of those lots with a purchase of 83 at
9:05:29.161, at which point we cancel, two 20 lot orders at 85, going to the other side of the
book, 9:05:31.33.




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ED FURLONG: With all those buy orders that you just entered, the whole series of buy orders
and buy cancels, are you trying to create any sort of like imbalance in the book, where there's just
more buy orders than there are sell orders?

GREGG SMITH: No, not at all. It looks like I'm readjusting my scale constantly. It looks like
the market traded up to 9 at one point, and I canceled, and then I moved the scale higher, and
then it looks like I canceled and moved my scale lower. What do you mean by imbalance in the
book?

ED FURLONG: To keep it simple, just basically the bid's bigger.

GREGG SMITH: They're 5 10 lot orders.

ED FURLONG: Well, that's 50 lots, but I mean you're at 3. Sometimes it'll be 11 in a row,
sometimes it'll be 5, sometimes it'll be 7.

ARMAND NAKKAB: I'm sony, just to clarify, you mean his own book or do you mean the
actual marketplace?

ED FURLONG: The actual marketplace.

ARMAND NAKKAB: Okay, so not the book but the actual market.

ED FURLONG: The order book for the entire market.

PETER LEIDER: What eve1yone sees

ARMAND NAKKAB: The order book, okay, different.

PETER LEIDER: Getting back towards the other side of the book again, you enter an order at
9:05:31.833, an iceberg order as per the one to sell 10 at 132 90, okay, and at that point it almost
tr·ades immediately in one lot clips, you can see, and the count goes down to 0, indicating that
iceberg order got filled.

ARMAND NAKKAB: Two of them, two of them got filled. The 90s and the 91s.

PETER LEIDER: Conect, that were working earlier. There we go, okay, thank you. Okay, at
9:05:33.822, you enter an order to buy at 88 at the 5th level of the book, 10 lot clips.

ARMAND NAKKAB: Actually before that, right above that, one lot gets filled on the 93,
right?

PETER LEIDER: I didn't see it for the gyrating. Your eyes are better than urine. CotTect,
working 9.




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ED FURLONG: 93 scale. Right. So is there a reason after you get filled on yom first layer of
sell icebergsand then you start to get filled on your second layer, that's at a higher price,

[01 :45:00]

then you sta1t to enter more buy orders in the book, is there a reason why you enter those buy
orders in between?

GREGG SMITH: Can we move up to the top first from where we sta1ted back up, from where
we ended the last one? I think if I look at the whole picture, it's a little easier for me. Are we
there, is that where we sta1ted? I mean, it looks like, in that case, I canceled buy orders, right?

ED FURLONG: Right.

GREGG SMITH:! canceled my buy scale and then sold.

PETER LEIDER: Conect. That would be this order, yes.

GREGG SMITH: Okay, so I was not-

ED FURLONG: I was asking basically-

GREGG SMITH: Well, we left off 1ight above that before, right? So I want to try to continue
from where we ended and reenact what was going on.

ED FURLONG: I couldn't see what we were talking about, because we were talking about the
90s.

ARMAND NAKKAB: You want to look higher up?

GREGG SMITH: Yeah, I mean, you're picking out one spot. We stopped explaining a spot
that was probably about 10 orders higher. It's difficult to see now too, but we stopped probably
10 or 15 orders above this, and now you've skipped over about 20 orders and sta1ted asking me a
question on the 20th order below the last. So, if you look, and to go back to my strategy, you can
see that I canceled my scale bid of 820 to 830s, 840s, 850s, conect? I canceled them before I
sold. You've kind of been pointing out that I'm canceling bids only after I sold, and skipped that
section when I canceled before I sold, so I just wanted to point that out that, if I pick out-if we
pick out each small thing, it's a little difficult for me to understand, and now we just skipped over
where I had bids in, I canceled all my bids, and then I sold my offer, and I might have had to
scale down bids there, but I didn't have bids that were right on top of my offer, I canceled them.
Now, I could have canceled them.

ED FURLONG: Right

GREGG SMITH: Yeah, I know, but you seemed to be saying that I've only canceled them
when it gets close to my sell order before. This says I cancel and I've had resting buy orders in,



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probably other resting buy orders in that weren't as close to the market, and I had the resting sell
order in. I cancel my buy orders, and now I sell. Just to point out that I canceled-I'm canceling
the scale for many different reasons while it goes on. I said it could be a change in the
marketplace, but I canceled that scale there on the buy side and then sold after. I didn't cancel
after I sold, okay.

ED FURLONG: And actually we went over before that you placed and canceled hundreds of
buy orders, and then, as it got close to trnding, you canceled.

GREGG SMITH: But I cancel without trading and I cancel when it does trade. Do you
understand what I'm saying? I'm clicking-well, it's not indiscliminately . I do have some-I'm
hying to react to what's going on, but I cancel when I'm not filled, and I cancel when I am filled,
there's a lot of different reasons, but we just happen for that. From what I understand there, I
canceled and then was filled after I canceled, okay, just to point it out, because we picked out
examples exactly the opposite of that and then skipped over that example, okay. All right, now
let's go down to where we were at 9.

ED FURLONG: Where were we?

[OVERLAY]

PETER LEIDER: Every time we get close to this, it gets worse. We started to get filled on
that order-here's your 105s, one lot of the 93 as you pointed out gets filled working 9.

ED FURLONG: But, one second, this sell lot that you put in, you put that into the market right
then and then traded it. It wasn't resting, so it is a little bit different. You could have canceled
your bids because the market was trading higher and then just went to the market. This wasn't
resting. Yeah. It was put in at the 833, 9:05:31.833.

GREGG SMITH: Was it a resting order or wasn't it a resting order?

ED FURLONG: It was not. You placed it in the market as an iceberg.

GREGG SMITH: And I was 10 lots first level 10 lots offon a trade, okay.

ED FURLONG: So I don't think that had anything to do with the buy orders canceled before
that. That was it went straight to the market.

GREGG SMITH: I put an order one level above where the market was trading.

ED FURLONG: The market was trading above your bids, and then you came in with the sell
order to sell icebergs at the best bid at that time, which was not yours, just wanted to point that
out.

PETER LEIDER: Okay, I'm going to continue. We're at 9:05:33.822.




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Some of those resting sell orders, you got them filled, in addition to the one that was put in
which we just referenced. You entered a buy at 88 again for the 10 at 5 th level, 10 lot buy at 89
and 10 lot buy at 90 to the 3rd level. It's now 9:05 :34.173 for the record. And your 93 offer, one
lot of which got filled before, it staits to trade again in one lot increments. You get two more
lots, you're filled on 7. At this point-

ARMAND NAKKAB: You fill on 3, balance at 7.

PETER LEIDER: Excuse me, yes, conect. I apologize, working 7, a total of 3 filled. And
could you go down a drop for me, please? At this point, and we're at 9:05:34.329, you enter in
10 lot increments a total of 20 buys at 92 at the 2 nd level and 20 buys, excuse me, at 91 at the 2nd
level and 20 buys in 10 lot increments at 92 at the 1st level. At this point, more of the 93s start to
trade in one lot increments because it was an iceberg, 6, 5, 4, 3, 2, 1 filled. At this point, you
enter another buy at 92 almost concunently.

ED FURLONG: So let's go back to that sequence there. That's what I was refening to earlier.
As the 91s started trading, well they traded completely, and then the 93s you traded one lot on
the 93, the 10 lot sell iceberg at 93. Then why did you place 3 more buy orders exposed right
before the sell at the 93? You traded 2 more and then 4more exposed buy orders basically right at
the top of the book at the 2nd and 1st level?

PETER LEIDER: I think the question is, if I may, were those buy orders I just referenced put
into the market to support the market there so you could get filled on your offer?

GREGG Sl\illTH: No, not in general. Still I'm on both sides of the market. I mean, again, the
particular instance, it looks like I canceled and replaced several times. The market appears to be
moving higher.

PETER LEIDER: Okay. I left off approximately here which is at 10 buys at 92 that were
entered, and at 9:05:35.266, 92 stait getting canceled, including that part iculai· order, but there
were two other orders to buy at 92s, a total of 30 lots, and they were all canceled by 9:05:35.266,
at which point you enter another buy at 92 at the second level of the book. We're at 9:05:35.709,
and at this point, 105s start going off again pertaining to those iceberg scales that were resident
earlier. 9, 8, 7, 6, 5, 4, 3, 2, 1, 0, that order gets filled, meaning your 95 offer by 9:05:35.745. At
this point, it's 9:05:35.825, you enter an order to buy 10 at 93 at the 3 rd level, 10 at a total of 20 at
4, a total of 30 at 4 all at the 3rd level of the book, and all 4 of those orders get canceled, meaning
the 10 at 93 and the 30 at 94 by 9:05:37.045, if you'll be kind enough. 9:05:38.355 you enter an
order to buy 10 at 93 at the first level, and an order to sell 10, again, I'm going to the other side
of the book, at 97, not an iceberg right at the top of the book. At that point, you enter an order,
9:05:39.370 to buy 10 at 92, 10 at 93, 30, 40, 50 at 95, those 95s were at the 2 nd level of the
book, 10 at 96, a total of 20 at 96, ahead of the 95s at the 1st level.




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ED FURLONG: So at that point you placed a 10 lot sale order in. Now you just leave it in
there, but we can see that the market's moving. Why not adjust that by canceling and replacing
it,

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just like you do with your buy orders?

GREGG SMITH: I don't know, to be honest with you. Did the market move away from it?
Did the market shift lower when I canceled my buy orders?

ED FURLONG: The market-well, you were still entering buy orders right after you placed it,
and you were entering them further away and going closer to yourself.

ARMAND NAKKAB: But what did the market do?

ED FURLONG: The market-

GREGG SMITH: Again, did other orders cancel as I canceled? Did other orders come in as I
put my orders in? That has a lot to do with when I'm canceling and rebooking.

ED FURLONG: We need to pull up a different program to see that-but right now we're
looking at what your orders are doing.

ARMAND NAKKAB: All right, I think the key is that, as he testified, he's reacting to market
conditions, and I think, when you guys do your review based on the testimony and the additional
data that you have, you got to incorporate what the market conditions were around this particular
trading activity.

PETER LEIDER: We always look at that. How many orders and how big these orders were
and how long they were out in the market and eve1ything else you can-

EUGENE FERRARA: You could be number one on the book, but there could be 300 lots in
front of you.

PETERLEDIER: Yeah

ED FURLONG: That would be extremely rare.

GREGG SMITH: That would be rare.

PETER LEIDER: But that's possible, not likely.

ARMAND NAKKAB: Depends on market conditions.




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PETER LEIDER: Absolutely. I would never want to detract from anything you're saying with
regard to that, because we're aware. We're just trying to illustrate yom trading. That's all we're
doing. At this point, we're at 9:05:40.720. 97s stait to get executed, 5, 4, 3, how many lots here,
5, 6, 7, 8, 9, 10 lots get filled, down to 0. 97s get filled.

GREGG SMITH: Looks like I bought and sold.

PETER LEIDER: Yeah, looks like it went through-

ARMAND NAKKAB: You get three lots of your highest buy order.

PETER LEIDER: Of your highest scale at working 7. At this point, you cancel that offer of
which you just got, again, nibbled on, for lack of a better te1m, was canceled out at 9:05 :40 at
.876. 9:05:40-same millisecond you cancel a buy, another buy at 96, the second level, 40 at 95,
which were at the third level, excuse me, 50 at 95, we're at the 3rd level, come out, at the 7th level
you had 20 at 92, those come out. At the 8th level, you had 20 at 91. Again, the book's moving
obviously, but this is what- we're going static right now. 10 at 93 come out, a total of20 at 93
at the 6th level. 10 at 90 at the 7th level, 10 at 89, 10 at 88, and again we're moving away from
the book from the 9th to the 10th , and now we're at the 15th level of the book away from where
your orders were. You're canceling 88s, 83s, 83s, 83s, and 81s, which were all in the bushes,
away, away from the book. This was done by 9:05:44.548.

ED FURLONG: Right there you canceled basically 200 exposed buy orders after you got filled
on three lots of your highest exposed buy order. Can you explain why, if you intended to trade
those, why you canceled them as soon as they staited to trade?

GREGG SMITH: They all didn't start to trade. I mean, the one buy order started to trade.
Yeah, the one buy order sta1ted to trade, and some of those orders were stagnant. You said they
were in from earlier.

PETER LEIDER: These were seconds earlier. This is all coming from the last.

GREGG SMITH: Yeah, the 8, 10s, 8, when the scale was lower. Some of those orders were
put in when they were-they were closer to the mid at the time and then now- I mean, it looks
like I just -

ARMAND NAKKAB: Let him-don't talk over each other. It kills the record.

ED FURLONG: I would just- I don't understand, so maybe you could help me understand
why you traded- you put your highest bid in the book. You got traded 3 untraded, so you didn't
even get all of your 10 lot orders, and you canceled them, and then within milliseconds you
canceled 190 more contracts that were layered from

[02:00:00]

the 15th level up unto what was trading.



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GREGG Sl\illTH: Did I re-enter after this? It looks like I just canceled the scale and reset.

ARMAND NAKKAB: Actually, that's a good question. Did he re-enter after this?

PETER LEIDER: We can open this up a little bit and see.

ARMAND NAKKAB: So let's do that.

GREGG Sl\illTH: I mean, these orders are-

ARMAND NAKKAB: Let's just see. Do you guys have it on your own desktops?

PETER LEIDER: Do you want to try bringing it over there and see what happens with that?

[Background Conversation]

ARMAND NAKKAB: Are your work stations on this floor? Do you want to just go rnn over
there and maybe just do a print out of the next 50 trades?

MIKE SEROSSI: You want to take a break and then we'll-

ARMAND NAKKAB: Why don't we do that, if that's okay?

ED FURLONG: I'm going to pause the tape for a minute. All right, we're back on the record.
It's now about 20 or so after 4:00. Go ahead, Peter.

MIKE SEROSSI: So you had some questions pe1taining to-we had to go off the record, we're
back on- pe1taining to some trades that were entered after the last specific time that we noted on
the tape. I ran that next repo11. Unf01tunately we're unable to show it on the screen, but I ran it
in a paper format, and it shows the trading, your trading from the exact millisecond that we left
off prior to taking this break. I believe you were discussing orders that possibly were re-entered,
if it helps.

ARMAND NAKKAB: Are you going to mark it as an exhibit, guys?

PETER LEIDER: Yes, I'll mark that. Thank you very much. We'll call that exhibit C.

GREGG Sl\illTH: Could we see where we left off again?

FEMALE 1: 9:05:44.548.

PETER LEIDER: That sounds about right. I think I went back about a second before that.

ARMAND NAKKAB: Thank you. That's the first line on the exhibit C. Do you agree with
that, Gregg?



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GREGG Sl\illTH: What's that, 9:05:44.54?

PETER LEIDER: I went back a drop so there was some overlap.

GREGG Sl\illTH: Okay, now previously I guess I canceled 10 or 12 orders or 13 or 14 or
whatever. I thought he had said that he added 200. I wanted to go back to a question you had asked
me earlier saying, when you put your orders in, is it your intention that you want to execute
eve1y order, and it is when I put the order in. This looks like it may have been a case where I
had put orders in at a level say between 8 and 8 ½. The market had since traded up to 9, 9 ½.
Now, ifl put a 50 lot scale in between 8 and 8 ½ and the market has since moved,

[02:05:00]

the orders that I am putting in now, the 50 lots really is replacing the orders that were below the
market if they have moved off of the screen, could have been I'm saying, but it looks to me like
that could be the situation. So my intention was to trade 50 lots when I came in. I may have put
in another 50 here and another 50 here, and, at the time, the intention is to trade them, but they
had moved away from the market, so I didn't for the time's sake, you can see how quick I'm
clicking, go back under, move the screen, go back down and cancel the original 50 before I put
in another 50. Do you understand?

ARMAND NAKKAB: So effectievely he's not doing a cancel, replace. He's doing a new order
and then, once the new order is in, he'll go back and cancel the other orders.

GREGG Sl\illTH: At some point in time, I'll go back and cancel the other orders. So was my
intention when I started to have 150 buy orders in at once? No. But the 50 that I put in, yeah,
I'm happy to trade those 50 I put in. Now it moved away. Now I put another 50 in higher, okay,
and I'm happy to trade those 50. Now, I'm well aware that I still have another 50 hanging
somewhere, and, if they trade, I mean, it's on me, they trade. Now I own 100 lots, but I don't
always go back and cancel my original orders before I replace them.

EUGENE FERRARA: So in this example on the screen, the deck level 15 is probably that
example-

GREGG Sl\illTH: That's why I thought of that. This looks like an example of where I started
at one level and moved up, and, if the number is 50, 50, 50, I could have had a stagnant 50 in
there. My intention wasn't to have 150 in. It's 50 pieces, but I didn't go back and cancel the
original ones that are out of the picture, just for time's sake.

PETER LEIDER: But, if we look fmt her we'll see those canceled eventually down the line,
you're saying?

GREGG Sl\illTH: Well, it looks like that's what happened there. Yeah, that's what happened
there.




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ARMAND NAKKAB: He finally gets around to it.

GREGG Sl\illTH: I'm canceling things that are 15. It looks like the closer ones are canceled,
the second levels canceled, and then ones that went in before are canceled, but you had asked a
question regarding that earlier. Okay, now we go into-I've canceled all these?

ARMAND NAKKAB: You canceled all the buys. You re-enter them is where we are.

PETER LEIDER: You have about a millisecond overlap between where this starts and that
ends.

GREGG Sl\illTH: The market looks like it's moved significantly. Is this a millisecond?

PETER LEIDER: Yes.

GREGG Sl\illTH: Yeah, so the market looks like it moved significantly from-where are we
there?

[OVERLAY]

PETER LEIDER: 810.

GREGG Sl\illTH: 810 cancels in the market, is trading now up above.

ED FURLONG: Is that a 105 or an order?

ARMAND NAKKAB: So you put them back in.

GREGG Sl\illTH: It's in order.

ED FURLONG: So the market isn' t trading. Where is the market?

PETER LEIDER: Last execution up there is at 97 and 96.

ARMAND NAKKAB: We have the last execution is at even, 133.

ED FURLONG: So you had 10 seconds where you executed on anything else.

ARMAND NAKKAB: Yes.

ED FURLONG: Okay, where?

ARMAND NAKKAB: At even.

ED FURLONG: At even at what time?




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ARMAND NAKKAB: 105, right, 2 lots at 133 00.

GREGG Sl\illTH: Okay, it looks like the scale's moved up. My scale has moved up.

ARMAND NAKKAB: So you canceled them. This is another cancel. That's the last cancel on
the screen. Then you entered a 5, a 5, a 10, a 10, a 10, a 10, a 10, a 10 at 96,292,299, even, 301,
301, 301, 301.

GREGG Sl\illTH: Okay, so that was the answer to what we said I had canceled what you may
call a stagnant scale where the markets moved away, and I moved it up towards the market.
Again, it looks like the scale shifted, buy sales, buy sales.

PETER LEIDER: At this point, I don't have any fmther questions. Does anyone here have any
fmther questions while we're on the record? Do you gentlemen have any fmther questions of us
while we're still on the record?

GREGG Sl\illTH: No, sir.

PETER LEIDER: Okay, it's approximately 4:27 in the afternoon. At this point I'd like to
conclude this inte1view. Thank you ve1y much.

[OVERLAY]




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